 Case 3:14-cv-02749-N         Document 91       Filed 12/21/15      Page 1 of 7     PageID 1577



                       THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

CHILLY DIL CONSULTING INC., a
Florida corporation,

              Plaintiff,

V.                                                  CIVIL ACTION NO. 3:14-cv-02749-P

JETPAY ISO SERVICES, LLC, a Texas
limited liability company; JETPAY, LLC, a
Texas limited liability company; JETPAY
CORPORATION, a Delaware corporation;
and TRENT R VOIGT, an individual,

               Defendants.

      DEFENDANTS' SUR-REPLY TO PLAINTIFF'S MOTION TO COMPEL AND
                MOTION FOR SANCTIONS UNDER FRCP 37



TO THE HONORABLE JUDGE OF SAID COURT:

        Defendants in the above-styled and numbered cause, file this Sur-reply to Plaintiff's

Motion to Compel and Motion for Sanctions under FRCP 37, and respectfully allege the

following:

                                            I.
                                      INTRODUCTION

        Despite the Defendant's continued attempts to compromise through additional production

and amended interrogatory responses, a majority of Plaintiff's Reply does not focus on

documents that the Plaintiff actually needs or is lacking, but rather on an argument that the

Defendant must conduct unnecessary work for no clear purpose other than to satisfy Plaintiff's

counsel. This continued insistence on demanding unnecessary steps be taken is a waste of the

Court's time and is causing an unnecessary increase in attorney's fees incurred by both parties.


DEFENDANTS' SUR-REPLY TO PLAINTIFF'S MOTION TO COMPEL                                     Page 1
D/930577v1
  Case 3:14-cv-02749-N         Document 91         Filed 12/21/15      Page 2 of 7      PageID 1578



To the extent the discovery requests are clarified, the Defendant has attempted to resolve the

matters, but the Defendant should not be forced to pay unnecessary attorney's fees solely to

comply with unnecessary requests.

                                       II.
                             ARGUMENT AND AUTHORITIES

I. PLAINTIFF ADMITS THAT IT HAS RECEIVED THE INFORMATION
     NECESSARY AND IS SIMPLY INSISTING ON CAUSING THE DEFENDANT
     TO DO ADDITIONAL UNNECESSARY WORK.

        Section A of Plaintiff's Reply simply repeats the prior arguments made by the Plaintiff

without addressing the fact that the Plaintiff is actually trying to compel more than was originally

requested in written discovery. Plaintiff has yet again failed to cite a single case that states that

the response of "none" is unacceptable as a discovery response.

        Plaintiff even admits that Defendant's response to Interrogatory No. 13 specifically

addresses the issues it claims to have with Defendant's response to Interrogatory No. 9. This is

because Interrogatory No. 13 is actually the question that Plaintiff appears to want answered.

Yet despite having admitted it was provided the information it is seeking, the Plaintiff is still

insisting that for some unknown reason the Defendant must amend its response to Interrogatory

No. 9 to include information that was not requested and was actually provided in response to

Interrogatory No. 13. This is a clear waste of the Defendant's time and the Court's time.

        Additionally, Plaintiff again goes on to list other Requests for Production and

Interrogatories that it claims are incomplete without explaining why they are incomplete. Since

the Defendant believes it has fully responded to the discovery requests as phrased, it is

impossible to determine what the Plaintiff is actually seeking from these requests without further

explanation.




DEFENDANTS' SUR-REPLY TO PLAINTIFF'S MOTION TO COMPEL                                          Page 2
D/930577v1
  Case 3:14-cv-02749-N         Document 91       Filed 12/21/15      Page 3 of 7     PageID 1579



        In Section C of the Reply, the Plaintiff addresses the issue related to how the documents

were produced and again is simply attempting to insist that the Defendant's counsel conduct

unnecessary work. The Plaintiff does not state that it is incapable of determining the responsive

documents based on the 901 pages of documents provided or that the documents were produced

in such a manner as to be incomprehensible. The majority of the case law cited by the Plaintiff

deals with an extremely large production of documents that would justify the necessity for

further clarification. In contrast, the documents produced by the Defendant do not reach the

level of burdensome when it comes to understanding them. Additionally, the Plaintiff failed to

comply with its own requests. The few documents that the Plaintiff has produced after the

Defendant's Response to the Motion to Compel were not organized or indexed. There was no

explanation as to whether they were kept in the ordinary course of business. Despite the

Plaintiff's hypocritical actions, the Defendant has not insisted on amended responses to its

Request for Production and instead has simply reviewed the documents to determine their

applicability.

        In Section E of the Reply, the Plaintiff again does not dispute that it has been provided

with responsive documents. Instead it simply demands amended responses to Requests for

Production to reflect that supplemental documents were produced. Again, the Plaintiff did not

provide amended responses to Requests for Production when it produced documents and is

simply acting hypocritically by demanding something of the Defendant that the Plaintiff is

unwilling to do.

2. JETPAY CANNOT PRODUCE DOCUMENTS THAT DO NOT EXIST.

        Plaintiff argues that JetPay ISO has failed to produce documents regarding the corporate

structure of the Defendants and the UK JetPay. JetPay, LLC is a publicly traded company and



DEFENDANTS' SUR-REPLY TO PLAINTIFF'S MOTION TO COMPEL                                      Page 3
D/930577v1
  Case 3:14-cv-02749-N         Document 91       Filed 12/21/15       Page 4 of 7     PageID 1580



all the records related to its corporate structure are available in the 10(k) filed with the SEC.

Despite the fact that these records are readily available on the SEC's website, the Defendant will

produce to the Plaintiff JetPay, LLC's 10(k) in an effort to compromise. Despite the overbroad

nature of the actual Requests for Production, Plaintiff appears to be seeking documents to show a

relationship between the Defendants and a non-party. The 10(k) clearly outlines any and all

corporate entities that JetPay, LLC is linked to. Additionally, due to the fact that the UK JetPay

is a completely separate entity, there are not any documents that would evidence a non-existent

relationship.

3.      PLAINTIFF IS ATTEMPTING TO FORCE JETPAY TO LIE IN ITS
        DISCOVERY RESPONSES.

        Section D of the Plaintiffs Reply addresses one of the key questions of fact and law in

this case. Specifically, does the unsigned Merchant Agreement qualify as a valid contract or

simply a negotiation between the parties? Additionally, since JetPay ISO never actually

provided any processing services to any merchant provided by Chilly Dil, there is a question as

to whether there can be an implied business relationship between the parties. Defendant

contends there is not a valid agreement and there is no relationship and Plaintiff disagrees. This

issue is being presented to the Court in Defendants' Motion for Summary Judgment and is the

entire reason for the lawsuit. Plaintiff may not like the Defendant's discovery responses, but that

does not entitle the Plaintiff to insist that the Defendant lie about its understanding of the

discussions related to the Merchant Agreement.

4.      PLAINTIFF HAS FAILED TO ESTABLISH THE RELEVANCY OF
        INTERROGATORY NO. 23.

        Plaintiff insists that Defendant's response to Interrogatory No. 6 is incomplete because it

does not describe the processing solution procured for the Confidential Merchant and the terms



DEFENDANTS' SUR-REPLY TO PLAINTIFF'S MOTION TO COMPEL                                        Page 4
D/930577v1
 Case 3:14-cv-02749-N         Document 91        Filed 12/21/15        Page 5 of 7    PageID 1581



of the solutions. JetPay ISO did not ultimately find a solution for the Confidential Merchant.

The solution was procured through the non-defendant entity, JetPay Solutions, LTD, which is not

the same entity as any of the named Defendants. The amended response is clear about this fact

and, therefore, the amended response to Interrogatory No. 6 is complete.

        Regarding Interrogatory No. 23, Chilly Dil is arguing that it needs to know about

unrelated merchants to determine the payments processed through the BIN that belong to the

Confidential Merchant. Chilly Dil has been provided a report created by the Bank that shows the

commissions for the Confidential Merchant directly. The other parties are redacted because they

are irrelevant and confidential. Therefore, breaching the confidentiality related to other

merchants is completely unnecessary and irrelevant to simply provide repetitive information to

Chilly Dil.

5. PLAINTIFF HAS NO BASIS TO REQUEST SANCTIONS AGAINST THE
     DEFENDANT.

        The Defendant produced the supplemental documents on the same day as the filing of the

Motion to Compel and Motion for Sanctions. Prior to the filing of the Motion to Compel and

Motion for Sanctions, the parties conferred regarding the discovery.

        On May 21, 2015, the Defendants received the bullet point list from the Plaintiff of the

documents that the Plaintiff specifically wanted. The Plaintiff did not state a specific date it

would be filing the Motion to Compel and Motion for Sanctions. The Defendants' counsel

notified the Defendants that same day and requested the supplemental documents. Had the

Defendants been aware of a specific timeline, they would have notified the Plaintiff of the

specific date when production was to occur. Plaintiff did not specify a date and did not inform

the Defendants of its intent to file the Motion to Compel and Motion for Sanctions on June 17,

2015. While it is ironic that the filing occurred within less than an hour of the production, it is


DEFENDANTS' SUR-REPLY TO PLAINTIFF'S MOTION TO COMPEL                                        Page 5
D/930577v1
  Case 3:14-cv-02749-N         Document 91       Filed 12/21/15       Page 6 of 7     PageID 1582



clear from the fact that there was a production that the Defendant was attempting to work with

the Plaintiff and respond to the Plaintiff's request. Defendant should not be sanctioned for

attempting to work with the Plaintiff and for simply not being aware of a specific timeline that

the Plaintiff never stated.

        Additionally, the Plaintiff admits that it did not produce documents until nearly a month

after it filed its Motion to Compel against the Defendant. The Plaintiff's actions continue to be

hypocritical and the Defendant should not be sanctioned for something the Plaintiff is also doing.

                                            III.
                                        CONCLUSION

        JetPay ISO has attempted to compromise with the Plaintiff and has provided the Plaintiff

over 701 pages of additional documents. Plaintiff's Motion to Compel arguments are asking for

documents outside the scope of what was actually requested and attempting to shift the burden

onto the Defendant beyond what is allowed under the scope of the Federal Rules of Civil

Procedure. Plaintiff is simply trying to push unnecessary issues and cause the Defendant to incur

unnecessary attorney's fees.

        Additionally, Plaintiff is asking for sanctions against the Defendant when Plaintiff's own

refusal to be involved in the discovery process is egregious and the Defendant was clearly

attempting to work with the Plaintiff. Based on the arguments above, the Plaintiff's Motion to

Compel should be denied.

                                              IV.
                                            PRAYER

         WHEREFORE, PREMISES CONSIDERED, Defendants request that the Court deny

Plaintiff's Motion to Compel and Motion for Sanctions under FRCP 37, and such other and

further relief to which Defendants may be entitled to at law and in equity.



DEFENDANTS' SUR-REPLY TO PLAINTIFF'S MOTION TO COMPEL                                        Page 6
D/930577v1
 Case 3:14-cv-02749-N         Document 91         Filed 12/21/15      Page 7 of 7   PageID 1583




                                            Respectfully submitted,


                                            BY:            /s/ Timothy M Dortch
                                                    TIMOTHY MICAH DORTCH
                                                    State Bar No. 24044981
                                                    micah.dortch@cooperscully.com
                                                    R. BRENT COOPER
                                                    State Bar No. 04783250
                                                    brent.cooper@cooperscully.com
                                                    LAUREN TOW
                                                    State Bar No. 24081179
                                                    Lauren.Tow@cooperscully.com

                                             COOPER & SCULLY, P.C.
                                             Founders Square
                                             900 Jackson Street, Suite 100
                                             Dallas, Texas 75202
                                             Tel.: 214/712-9500
                                             Fax: 214/712-9540

                                             COUNSEL FOR DEFENDANTS JETPAY ISO
                                             SERVICES, LLC; JETPAY, LLC; JETPAY
                                             CORPORATION; AND TRENT R. VOIGT



                                CERTIFICATE OF SERVICE

        I hereby certify that I served a true and correct copy of Defendants' Sur-Reply to

Plaintiff's Motion to Compel and Motion for Sanctions Under FRCP 37 to all counsel of record

for all parties via ECF on the 11th day of August, 2015.


                                              /s/ Timothy M Dortch
                                             TIMOTHY MICAH DORTCH




DEFENDANTS' SUR-REPLY TO PLAINTIFF'S MOTION TO COMPEL                                   Page 7
D/930577v1
